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EXHIBIT 9
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IVF

PROGRAM

REPRODUCTIVE ENDOCRINOLOGY
AND
INFERTILITY

A WORKBOOK TO GUIDE
YOU THROUGH YOUR CYCLE

BRING TO EACH APPOINTMENT

TO CONTACT US:
Monday-Friday 8a-5p, call 603-653-9233, nurse triage line

Monday-Friday after 5p. Voice Mail at 603-653-9233,
message will be responded to in the morning after 8am.

Emergent questions after 5 Monday to Thursday
call 603-650-5000,
page infertility MD on call.

Friday night, Saturday and Sunday, call 603-653-9233,
Voice Mail or page infertility nurse on call

PAGER: call 603-650-5000

After Hours: Nurses Station/Voice Mail
603-653-9233

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ABOUT OUR PROGRAM

Reproductive Endocrinology and Infertility is a division of the Department of
Obstetrics and Gynecology at Dartmouth-Hitchcock Medical Center. Our IVF program
is comprised of highly skilled professionals including: physicians, nurse practitioners,
nurses, embryologists, a clinical social worker and other health care professionals
dedicated to providing you with advanced infertility care and treatment. It is our
experience that this is best accomplished by a team approach, working in collaboration
with you and your partner to develop an individualized treatment plan. We encourage
you to participate in this ongoing process.

WHO IS “THE TEAM”?

As you progress through your cycle, you will see some or all the various team
members. The IVF Coordinator is your contact person, and if necessary, she can put
you in touch with other team members. YOU are the focal member of the team, so
communication between you and the rest of the team is VITAL. Many
couples/individuals find advanced infertility treatment to be unusually stressful, often
associated with anxiety, frustration and disappointment. Our experience has shown that
open communication between you and the rest of the team is imperative, and we
encourage you to discuss any concerns with us.

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THE REPRODUCTIVE ENDOCRINOLOGY TEAM

Misty Blanchette Porter, M.D. ~ IVF Medical Director
Albert Hsu, M.D. ~ Reproductive Endocrinologist

Judith McBean, M.D. ~ Reproductive Endocrinologist
Navid Esfandiari, Ph.D, HCLD ~ IVF Lab Director

Walli Croteau, BS ~ IVF Lab Technician

Jennifer Blaiklock, BS ~ IVF Lab Technician

Dennis Dela Cruz, ~BS~ IVF Lab Technician

Pavel Zagadailov~ Embryologist

Elizabeth Todd, ARNP ~ Nurse Practitioner

Casey Dodge, RN ~ OB/GYN ~ IVF Nurse Coordinator
Sharon Parent, RN ~ OB/GYN ~ IVF Nurse Coordinator

Marlene Grossman, RN ~ OB/GYN ~ IVF Nurse Coordinator

Teresa Candido, MSW ~ Behavioral Health

Donna Bedard ~ Program Secretary
603-653-9240

Valerie LaCroix ~ Genetics counselor

Financial Information Coordinators

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